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                                     16
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        1               IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
        2
             Civil Action No. 1:16-cv-03079-MSK-MJW
        3
             ESTATE OF NATE CARRIGAN,
        4    JOHN CARRIGAN, MELISSA CARRIGAN,
             and KOLBY MARTIN,
        5
             Plaintiffs,
        6
             v.
        7
             PARK COUNTY SHERIFF'S OFFICE,
        8    SHERIFF FRED WEGENER, in his
             official and individual capacity,
        9    and MARK HANCOCK, in his official
             and individual capacity,
       10
             Defendants.
       11    ______________________________________________________

       12          DEPOSITION OF: MONTE GORE - June 20, 2017
                        (NONCONFIDENTIAL ONLY TRANSCRIPT)
       13    ______________________________________________________

       14                 PURSUANT TO NOTICE, the deposition of
             MONTE GORE was taken on behalf of the Plaintiffs at
       15    501 South Cherry Street, Suite 920, Denver, Colorado
             80246, on June 20, 2017, at 9:08 a.m., before Darcy
       16    Curtis, Registered Professional Reporter and Notary
             Public within Colorado.
       17

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                       Court Reporting, Legal Videography, and Videoconferencing
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 1   page, I think this sort of mirrors what you testified     1            (Deposition Exhibit 13 was marked.)
 2   to earlier. Under "The Structure of the Training          2        Q. Undersheriff, this is the Welles Tonjes
 3   Section," specifically subsection C 2, "The division      3   lawsuit that was filed exactly a year after the
 4   commanders are responsible for the training,              4   incident on February 24, 2017. And I believe it was
 5   supervision and budgeting of their respective             5   one of the documents you said you read prior to the
 6   division." Is that accurate?                              6   deposition?
 7        A. Yes.                                              7        A. Yes.
 8        Q. So the division commander in charge of            8        Q. Okay. Now, I want you to turn to --
 9   patrol at the time of the Wirth incident, would that      9   well, looking at Exhibit 13, have you reviewed this
10   be Captain Hancock?                                      10   document prior to the deposition?
11        A. Yes.                                             11        A. I have.
12        Q. Okay. So I want to go to the specific            12        Q. Okay. I want to go to page 5 of this
13   event. Okay. So February 24, 2016, what we're            13   complaint and specifically paragraph 22. Now, why
14   calling the Wirth incident. Okay?                        14   don't you read that paragraph to yourself and let me
15        A. Okay.                                            15   know when you're ready.
16        Q. Did you have any prior interactions with         16        A. Okay. I am finished reading 22.
17   Martin Wirth prior to the date of the incident?          17        Q. Now, you just testified to your knowledge
18        A. I did not have personal interaction with         18   of Mr. Wirth, right?
19   Martin Wirth.                                            19        A. Correct.
20        Q. Okay. Did you have any personal                  20        Q. And you said you reviewed some materials
21   knowledge of Martin Wirth or any of his threats?         21   that led you to the belief he was anti-government,
22        A. Yes.                                             22   anti-cop, armed, dangerous, and was a significant
23            MR. SCHIMBERG: Form.                            23   threat, right?
24        Q. (BY MR. SISSON) Okay. And what was your          24            MR. SCHIMBERG: Form.
25   personal knowledge?                                      25        A. That's correct.

                                                        78                                                            80
 1         A. I was aware of Martin Wirth. I was aware         1        Q. (BY MR. SISSON) Okay. Now, did you keep
 2   that he had made threats to law enforcement. I            2   that information to yourself or was that
 3   believe there was an incident two weeks prior where he    3   information -- as it says in paragraph 22, "Mr. Wirth
 4   had made threats -- I think it was someplace in           4   was well-known within the Park County Sheriff's
 5   Jeffco -- and had to be contacted and had made threats    5   Office." Do you see that first sentence?
 6   to officers. I had looked at information and              6        A. I do.
 7   considered Wirth to be anti-government, anti-law          7        Q. So your feelings or your beliefs about
 8   enforcement, and I felt he was extremely dangerous.       8   the threat Mr. Wirth posed, do you believe that that
 9         Q. Did you know him to be armed, dangerous,         9   threat was well-known within the Park County Sheriff's
10   and violent?                                             10   Office?
11            MR. SCHIMBERG: Form. Foundation.                11           MR. SCHIMBERG: Form. Foundation.
12         A. Yes.                                            12        A. This situation was very well-known
13         Q. (BY MR. SISSON) Based on -- and let me          13   throughout the entire agency, yes.
14   back that up. Let me hone in on that a little bit        14        Q. (BY MR. SISSON) Well, prior to the
15   more. Did you know Mr. Wirth to be armed, dangerous,     15   February 24 events, okay, were the threats, the threat
16   and violent prior to February 24, 2016?                  16   assessment, if you will, your knowledge of Mr. Wirth,
17         A. I felt he posed a significant threat.           17   was that well-known within the department?
18   Based on the threats made, I felt there was a high       18           MR. SCHIMBERG: Foundation and form.
19   probability he would be armed. And I felt he was         19        A. Yes.
20   extremely volatile and dangerous, especially to law      20        Q. (BY MR. SISSON) How do you know that?
21   enforcement and the government and the mortgage          21   Did you have specific conversations with people?
22   company that he was dealing with.                        22        A. I did.
23         Q. Okay. So what I want to do -- and we're         23        Q. Did you ever have a specific conversation
24   just going to continue with the numbering, so this is    24   with Sheriff Wegener prior to February 24, 2016, about
25   going to be Exhibit 13.                                  25   the threat that Martin Wirth posed?

                                                                                                     20 (Pages 77 to 80)

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                                                        81                                                             83
1          A. I never had a conversation specifically          1   bad feeling about this entire operation.
2    with Sheriff Wegener.                                     2         Q. So let me back up a little bit. Now,
3          Q. What about with Captain Hancock?                 3   your view of Mr. Wirth based on what you reviewed and
4          A. Yes.                                             4   the knowledge that you possessed at the time that you
5          Q. A specific conversation?                         5   communicated to Captain Hancock, did you consider that
6          A. I did.                                           6   to be a threat -- a, quote, unquote, threat
7          Q. What was your specific conversation with         7   assessment?
8    Captain Hancock?                                          8         A. That was my assessment. Hancock, I
9          A. Approximately two weeks, two and a half          9   believe, did a threat assessment and arrived at the
10   weeks, prior to this operation being conducted, I had    10   same conclusion, feeling that and having the
11   called Captain Hancock into my office and advised him    11   understanding that Mr. Wirth was extremely dangerous.
12   that I felt Wirth was a significant threat. Told him     12         Q. Why do you believe -- you said you
13   that during the operation, I wanted to be very clear     13   believe Mr. Hancock did a threat assessment. Why do
14   that I considered Wirth extremely dangerous. I felt      14   you hold the belief that Captain Hancock did a threat
15   he was homicidal and suicidal. I felt he wanted to       15   assessment?
16   commit suicide by cop and take as many officers with     16         A. This was a tactical operation from the
17   him as he could. I directed Captain Hancock that         17   very get-go. The operation had two phases. We knew
18   under no circumstances whatsoever were they to enter     18   that Mr. Wirth was extremely volatile and dangerous
19   Wirth's residence.                                       19   and most likely armed. The first phase of the
20         Q. Okay. I mean, that sounds pretty                20   operation was officers were supposed to, under the
21   serious, Undersheriff. Are you saying you gave him a     21   tactical plan, make an attempt to get Mr. Wirth out of
22   direct order to --                                       22   the house in a peaceable manner.
23         A. I did.                                          23            I had anticipated that Mr. Wirth may come
24         Q. Let me finish my question. Are you              24   out of the residence and go back in. And typically in
25   saying that you gave Captain Hancock a direct order      25   my experience as a peace officer, they will come out

                                                        82                                                             84
1    not to enter the Wirth structure approximately two        1   of the residence to assess how many officers you have
2    weeks before the incident?                                2   and assess the situation themselves. When they go
3             MR. SCHIMBERG: Form.                             3   back in the residence or if they go back in the
4         A. Yes.                                              4   residence, at that point the operation should be
5         Q. (BY MR. SISSON) At any point did you              5   considered a barricade suspect operation. And the
6    rescind that order?                                       6   officers, under the plan that Hancock and I discussed,
7         A. No.                                               7   were supposed to withdraw to the perimeter, at which
8         Q. Okay. In your specific conversation with          8   time I was supposed to be given a phone call to assess
9    Hancock, did he acknowledge your order?                   9   what we were going to do at that point.
10        A. Yes.                                             10         Q. Okay. Now, we'll look at the policy in a
11        Q. Did he have anything more than I                 11   few minutes, but are you saying that -- what you just
12   understand or did he say -- did he elaborate, I agree    12   articulated was essentially a two-phase tactical plan;
13   with you, Undersheriff? I mean, tell me what was his     13   is that fair? I don't want to put words in your
14   response. I mean, you just gave this direct order not    14   mouth, so tell me if I'm wrong on that.
15   to breach the structure. Did he respond in a             15         A. That's exactly what this was.
16   substantive way?                                         16         Q. And it sounds like it was a tactical plan
17        A. He indicated that he understood the order        17   that was more or less an order by you to the captain;
18   and that he would follow the directive and that I        18   is that fair or not fair?
19   could trust him that no one would be hurt in this        19         A. That's accurate.
20   operation.                                               20         Q. Okay. So this really wasn't up for
21        Q. Why did you give that order to Hancock?          21   discussion. It was more of an undersheriff telling a
22        A. I felt this situation and I felt                 22   captain here is the tactical plan, phase one, we'll
23   Mr. Wirth was extremely dangerous. And I was             23   approach, we'll try to talk him out peacefully?
24   concerned for the welfare of our officers and I was      24         A. (Deponent nodded head up and down.)
25   concerned for the welfare of the residence and I had a   25         Q. Did you specifically communicate to

                                                                                                      21 (Pages 81 to 84)

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 1   Hancock that you felt it was likely or you anticipated    1         Q. Who picked the date?
 2   Wirth would come out and then retreat back in?            2         A. As I recall, I think the date was
 3         A. That's correct.                                  3   decided -- I think Sergeant Tonjes had input along
 4         Q. And you told that to Hancock -- is this          4   with Captain Hancock as far as when they would have
 5   the same communication approximately two weeks prior?     5   manpower available.
 6         A. Yes.                                             6         Q. Okay. So you have this meeting with the
 7         Q. Okay. How long did this meeting last?            7   captain about your assessment of the threat and your
 8         A. The meeting was conducted in my office,          8   communication to him of the tactical plan?
 9   about 30 minutes, and we actually left my office and      9         A. Correct.
10   continued the discussion down at the patrol room,        10         Q. That accompanied a specific order not to
11   probably another 15 minutes or half hour, so about an    11   breach the structure under any circumstances?
12   hour discussion, I would estimate.                       12         A. That's what I ordered Captain Hancock to
13         Q. Any witnesses to that communication?            13   do, that under no circumstances was he to enter the
14         A. Not that I'm aware of. There could have         14   Wirth residence.
15   been people in the patrol room that overheard the        15         Q. Okay. Was there any ambiguity in your
16   operation --                                             16   order? I mean, is there any way that he may have
17         Q. How much --                                     17   thought, well, he doesn't really mean that or, you
18         A. -- or the discussion.                           18   know, if Wirth retreats in and I start to feel like
19         Q. Sorry. I didn't mean to talk over you.          19   it's dangerous, maybe I can then breach the structure?
20   I apologize. How much thought -- let's back up a         20         A. There would have been no ambiguity. I
21   little bit. Okay. So specifically we can go to           21   gave the order and made it crystal clear that under no
22   Exhibit 13 and the paragraph before. Do you see that,    22   circumstances was he to enter the residence. I made
23   21? "The Park County Sheriff's Office decided that it    23   it clear that I felt Wirth was highly volatile and
24   would approach Mr. Wirth at his residence on             24   dangerous and that I felt Mr. Wirth wanted to commit
25   February 24, 2016, regarding his eviction." Do you       25   suicide by cop and take as many officers with him as

                                                         86                                                             88
 1   see that sentence?                                        1   he could.
 2        A. I do. 21?                                         2        Q. So let me ask you this. I mean, you have
 3        Q. Yes, paragraph 21 in Exhibit 13 on page           3   a boss, the sheriff?
 4   5.                                                        4        A. I do.
 5        A. Gotcha.                                           5        Q. And the sheriff can overrule your orders,
 6        Q. When was that decided?                            6   right?
 7            MR. SCHIMBERG: Object to form. When was          7        A. That is correct.
 8   what decided?                                             8        Q. Okay. So two weeks prior to the event,
 9            MR. SISSON: Oh.                                  9   the Wirth event, so I'm assuming it's around
10        Q. (BY MR. SISSON) The allegation in                10   February 12, give or take, right, you communicate this
11   paragraph 21 is that "The Park County Sheriff's Office   11   to the captain. And was it fair to say this was a
12   decided that it would approach Mr. Wirth at his          12   pretty big deal in your agency at that time?
13   residence on February 24, 2016, regarding his            13            MR. SCHIMBERG: Form. Foundation.
14   eviction." Do you see that sentence?                     14        A. This was a huge issue. It was well-known
15        A. (Deponent nodded head up and down.)              15   within the organization. And I felt it was extremely
16        Q. Is that an accurate sentence?                    16   dangerous.
17        A. It is.                                           17        Q. (BY MR. SISSON) Okay. So my question
18        Q. Okay. Who decided that and when?                 18   is: Why didn't you go to the sheriff and say, hey,
19        A. I believe that would have been decided in        19   Sheriff Wegener, I want to let you know this is a huge
20   the meeting I had with Hancock approximately two weeks   20   deal in our organization, this is a huge threat to the
21   prior to the operation.                                  21   officers of our organization, I feel this guy is going
22        Q. Okay. So you decided that?                       22   to take suicide by cop situation, he may take some of
23        A. Yes.                                             23   us with him, I want to let you know I specifically, as
24        Q. Did you pick the date?                           24   the undersheriff, implemented this tactical plan and
25        A. I did not pick the date.                         25   gave this order to Captain Hancock? Why didn't you do

                                                                                                      22 (Pages 85 to 88)

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 1   that, or did you do that?                                 1   time Hancock would have contacted me by phone and we
 2            MR. SCHIMBERG: Form.                             2   would have assessed what we needed to continue the
 3        A. The organization from the top down was            3   operation, or I had considered withdrawing from the
 4   aware of the issue with Mr. Wirth. Sergeant Tonjes        4   operation.
 5   was aware and had advised me he had briefed the           5        Q. Now, you had this meeting with Hancock
 6   sheriff on this issue. The sheriff was supposed to be     6   approximately two weeks prior to the event. How much
 7   out of town. He had a meeting in Denver --                7   time and thought did you put into either your threat
 8        Q. (BY MR. SISSON) Okay.                             8   assessment or your tactical plan prior to
 9        A. -- the day of this operation.                     9   communicating it to Hancock approximately two weeks
10        Q. Were you done?                                   10   before the event?
11        A. No.                                              11        A. I had been made aware of this issue and
12        Q. Okay. Sorry. Go ahead.                           12   had had time to digest it and was very concerned, once
13        A. With everybody having knowledge of this          13   again, for the safety of our officers involved and for
14   situation, I did not feel it was necessary for me to     14   the safety of the community, and I had given
15   brief the sheriff again on what was well-known within    15   considerable thought to this operation.
16   the organization.                                        16        Q. And, I guess, what I'm looking for is --
17        Q. So are you saying that while you yourself        17   if you can't answer it, it's fine, but when you say
18   did not sit down across the desk from the sheriff and    18   you gave considerable thought in advance of your
19   articulate what you just articulated to me, you          19   meeting with Hancock, a day, two days, two weeks,
20   believe that Sergeant Tonjes essentially did that?       20   three weeks, three months? I mean, what period of
21        A. Yes.                                             21   time are you digesting this information and
22            MR. SCHIMBERG: Form.                            22   formulating your plan?
23        Q. (BY MR. SISSON) And based on your                23        A. Six to eight weeks.
24   knowledge, the sheriff was aware of your assessment of   24        Q. Six to eight weeks. Okay. Now, during
25   Wirth, your tactical plan, and your direct order to      25   that six to eight weeks, so we're talking, really,

                                                         90                                                            92
 1   Hancock that under no circumstances that he should be     1   about the first of the year and maybe even a little
 2   breaching the structure?                                  2   bit before Christmas, you're giving thought to this
 3        A. Yes.                                              3   whole Wirth eviction; is that fair?
 4        Q. Okay. So you mentioned that on these big          4        A. That is fair.
 5   operations, oftentimes, if not all of the time, you       5        Q. Okay. During that six to eight weeks,
 6   would be the incident commander; is that true?            6   are you having any other communications with Captain
 7        A. That is correct.                                  7   Hancock or Sheriff Wegener about this Wirth event as
 8        Q. Okay. This was such a threat, such a big          8   you're formulating your tactical plan?
 9   deal, why didn't you participate in the actual events     9        A. I know Captain Hancock was tasked with
10   of February 24, 2016, from the very first phase?         10   the assignment to do a risk assessment and tactical
11        A. The sheriff had scheduled a meeting and          11   plan for the operation during the course of time. I
12   was going to be out of the county that day. A lot of     12   wasn't sure -- once again, the date was somewhat up in
13   times when the sheriff is gone, I step into that         13   the air prior to this. And the date February 24 was
14   position as acting sheriff. We were going to have        14   eventually arrived at by, I believe, Captain Hancock
15   most of our resources in the Bailey area on this         15   and I think Sergeant Tonjes had input into that, as
16   operation. I felt my responsibility was to stay at       16   well as others may have had input into that.
17   the office. We can't -- Park County is a huge county     17        Q. To your knowledge, if you know, who
18   and we needed a few people on the Fairplay side of the   18   tasked Hancock with a risk assessment?
19   county.                                                  19        A. I did.
20            As I have stated earlier, I made it             20        Q. Who tasked Hancock with a tactical plan?
21   crystal clear to Captain Hancock that if Mr. Wirth did   21        A. I did.
22   not answer the door or that if Mr. Wirth -- and I        22        Q. Why, if you tasked Hancock with a risk
23   anticipated he would come outside to assess us -- if     23   assessment and tactical plan, did you yourself
24   he went back inside, that at that time there was         24   formulate your own risk assessment and your own
25   supposed to be a withdrawal to the perimeter, at which   25   tactical plan?

                                                                                                      23 (Pages 89 to 92)

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 1            MR. SCHIMBERG: Form.                            1          A. No.
 2         A. Once again, I had significant concerns          2          Q. Did he take any issue with your tactical
 3   for the safety of our staff, the safety of the           3    plan?
 4   citizens and the neighbors in that neighborhood. And     4          A. No.
 5   I just wanted to make it very clear to Captain Hancock   5          Q. Did you ever see on a piece of paper an
 6   that I considered Wirth a significant threat. And as     6    actual risk assessment by Captain Hancock?
 7   I have previously stated, I felt he wanted to commit     7          A. I think he briefed me on the risk
 8   suicide by cop. And based on statements that he had      8    assessment. I don't remember seeing or recall seeing
 9   made and incidents two weeks prior to that, that he      9    a specific written risk assessment, but typically on
10   wanted to have a shootout with law enforcement and       10   any operation, the captain was assigned to do a risk
11   take as many of us out as he could. And that was my      11   assessment and provide a tactical plan which would be
12   feeling and concern at the time.                         12   submitted to me for approval. And I would review
13         Q. (BY MR. SISSON) So it was such a risk           13   those plans, and if I had questions, I would ask those
14   that you didn't just let Hancock do his own assessment   14   questions, or if I had concerns, I would address those
15   and own tactical plan, you took it upon yourself to do   15   concerns, if I wanted changes made, I would go over
16   essentially those same two steps; is that fair?          16   those with the captains.
17            MR. SCHIMBERG: Form.                            17         Q. So did you ever get a written tactical
18         A. That would be fair. And I wanted Captain        18   plan or a threat assessment from Captain Hancock?
19   Hancock to have the understanding that this was          19         A. I think I got a verbal assessment. And
20   extremely volatile, extremely dangerous, and extremely   20   the captain was aware of the threats that Wirth had
21   high risk.                                               21   made and the captain was aware of the significant
22         Q. (BY MR. SISSON) So you mentioned -- you         22   threat that Wirth posed and the captain acknowledged
23   already testified earlier -- that you believe Hancock    23   that he would follow my directive.
24   arrived at your same risk assessment?                    24         Q. Okay. So let me -- and I don't think we
25         A. He did.                                         25   need to belabor this too much, but let's look at

                                                         94                                                            96
 1         Q. Do you think -- I'm just asking your            1    Exhibit 4 in the binder.
 2   opinion. Based on your communications with Hancock       2            MR. RAY: Are you doing all right?
 3   and your experience with Hancock, do you think he        3            THE DEPONENT: I'm doing good.
 4   understood the threat that Martin Wirth posed?           4            MR. SCHIMBERG: I'm having my old man
 5             MR. SCHIMBERG: Form. Foundation.               5    bout again.
 6         Q. (BY MR. SISSON) And when I say that, the        6            MR. SISSON: Oh, let's take five minutes,
 7   same way that you did?                                   7    Tim?
 8             MR. SCHIMBERG: Same objections.                8            MR. SCHIMBERG: Yes.
 9         A. I feel Captain Hancock was an experienced       9            MR. SISSON: Let's take a five-minute
10   SWAT commander. He had experience in putting together    10   break.
11   tactical plans and threat assessments and he was good    11           (Recess taken, 11:32 a.m. to 11:42 a.m.)
12   at that. He had a clear understanding of the threat.     12        Q. (BY MR. SISSON) I want to go to
13   I reiterated that I had significant concerns about       13   Exhibit 4. And it looks like Exhibit 4 is an offense
14   Mr. Wirth and the threat that he posed, so much so       14   report related to Martin Wirth. Is that your
15   that I directed him and ordered him that he was under    15   understanding?
16   no circumstances to go into that residence. And he       16        A. That's what it looks like, yes.
17   had a clear, concise understanding on his own, and he    17        Q. Relating to certain crimes that were
18   had a clear, concise understanding of the directive      18   allegedly committed by Martin Wirth; is that fair?
19   that I had given him.                                    19        A. That is fair.
20         Q. (BY MR. SISSON) Did he in any way argue         20        Q. Did you have knowledge of -- my
21   or debate the merits of, well, what if he goes back      21   understanding of this document is that the date of the
22   into the structure, you know, could there possibly be,   22   offense was on January 20, 2016. Do you see the
23   Undersheriff, a situation where he retreats back into    23   incident date and time?
24   the structure and maybe we should breach the             24        A. Let me go back.
25   structure? Did he in any way articulate that to you?     25        Q. First page.

                                                                                                      24 (Pages 93 to 96)

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 1          A. I do.                                           1   assaulted by the officers?
 2          Q. Is that a significant threat to an              2         A. I know he had made -- he was resisting
 3   officer?                                                  3   and I know that there was a confrontation, but I did
 4            MR. SCHIMBERG: Form. Foundation.                 4   not read the report, so I was unaware of the detail or
 5          A. It would be.                                    5   the specifics.
 6          Q. (BY MR. SISSON) "I sprinted toward              6         Q. Were you aware of his -- what he believed
 7   Wirth, wrapped both of my arms around his body and        7   to be his injury?
 8   free arm, and tackled him to the ground. The force of     8         A. No.
 9   the impact broke my sunglasses and caused a scrape on     9         Q. Okay. Do you believe that if he felt he
10   my forehead and right cheek. Wirth landed on his         10   was assaulted by officers that he would pose a
11   back."                                                   11   greater, potentially an even greater, threat on the
12            So did you understand that in the context       12   date of the Wirth eviction?
13   of this incident on January 20, Wirth was actively       13            MR. SCHIMBERG: Form and foundation.
14   aggressive towards officers and there was a physical     14         A. I was aware prior to this that he posed a
15   struggle?                                                15   significant threat. When I was made aware of this, it
16          A. Yes.                                           16   reinforced what I already knew.
17          Q. Did you know that prior to the date of         17         Q. (BY MR. SISSON) Let me ask it a
18   the Wirth eviction event?                                18   different way. You're finding this out for the first
19          A. Yes.                                           19   time, I mean, or at least the broken teeth part of it.
20            MR. SCHIMBERG: Form.                            20   In your mind, the threat assessment, could it have
21          Q. (BY MR. SISSON) Okay. Flipping the             21   gone any higher than you already had it, or was he
22   page, I'm going to kind of cherry pick here through      22   basically at the highest level of threat, in your
23   this thing, because it's too long to read the entire     23   mind?
24   thing. First paragraph, third sentence, "Wirth was       24            MR. SCHIMBERG: Form and foundation.
25   still screaming at us and resisting." Do you see         25         A. In my mind, he was at the highest threat

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 1   that?                                                    1    level.
 2         A. I do.                                           2          Q. (BY MR. SISSON) Okay. Let's go back to
 3         Q. Was that known to you prior to the Wirth        3    the same exhibit, fourth paragraph. And this is the
 4   incident?                                                4    event with the insurance agent.
 5         A. I know that he had resisted.                    5          A. Yes.
 6         Q. Okay. "Wirth kept relaxing and clenching        6          Q. "As Wirth was walking out, he stated he
 7   his fist as I was trying to manipulate his hand and      7    was going to get a gun and 'shoot the first cop he
 8   arm. I also noticed a pocketknife in a pocket on         8    sees.'" Do you see that?
 9   Wirth's right leg." Were you aware of not only the       9          A. Yes.
10   resistance but also the weapon in this event, i.e.,      10         Q. Were you aware that Martin Wirth
11   the pocketknife?                                         11   allegedly made that comment to an insurance agent?
12         A. I was not aware of the pocketknife.             12         A. I was aware that he had talked about
13         Q. Okay. Second paragraph, so I'm on Bates         13   having a firearm, but I wasn't aware that it was an
14   1,003, two-thirds of the way down, "Wirth yelled back    14   insurance agent.
15   by saying, 'No. They're illegally arresting me. Call     15         Q. Okay. But you were aware that he talked
16   the ACLU.'" Were you aware of that comment?              16   about having a firearm. Were you aware that he was
17         A. No.                                             17   talking about using the firearm to shoot the first cop
18         Q. Third paragraph, Bates 1,003, "Wirth            18   he sees?
19   still refused to place his legs in the vehicle. Wirth    19         A. I believe I was -- as I recall, I
20   then yelled at us by saying you motherfuckers broke my   20   believe -- as I recall, I was made aware of the
21   teeth. You fucking broke my teeth. Wirth had three       21   incident and that he had threatened law enforcement
22   missing teeth on his bottom jaw. I did not see any       22   with firearms.
23   blood." Were you aware that in the context of this       23         Q. Okay. So it sounds like you weren't
24   event, Wirth was basically yelling he was being          24   maybe necessarily aware of the specific verbatim
25   illegally arrested and that he believed he was           25   quote, but the general I have a firearm, I'm going to

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 1   shoot a cop, you were aware of?                           1   significant threat and add to the information we
 2         A. Yes.                                             2   already had about Mr. Wirth. And that should have
 3         Q. Flipping the page, what about the last           3   been conveyed to me and that should have been conveyed
 4   full paragraph? "Deputy MacDonald came over to me and     4   to Captain Hancock.
 5   Wirth. Wirth began asking us to 'shoot him in the         5        Q. To your knowledge, did --
 6   head.'" Do you see that?                                  6        A. And disseminated through the
 7         A. Yes.                                             7   organization.
 8         Q. Were you aware that Wirth had a desire to        8        Q. To your knowledge, did that ever occur?
 9   have essentially a suicide by cop situation?              9   Did Sheriff Wegener communicate the information to
10            MR. SCHIMBERG: Form. Foundation.                10   you?
11         A. I had a previous awareness that he was          11        A. No.
12   going to -- that he wanted to commit suicide by cop,     12        Q. Do you have any knowledge of the sheriff
13   but I didn't know that was part of this incident or      13   communicating the information to Captain Hancock?
14   that statement was made as part of this incident.        14        A. No.
15         Q. (BY MR. SISSON) These kind of                   15        Q. How about to the department?
16   statements, are they concerning to you?                  16        A. No.
17         A. Yes.                                            17        Q. Okay. So I want to get back and drill
18         Q. Does it reinforce your threat assessment        18   down a little bit more on -- you talked a little bit
19   of Martin Wirth?                                         19   about the tactical plan and what it was and your role
20         A. Yes.                                            20   in devising the plan, but I want to back up a little
21         Q. Okay. Now, what about Rick Gabrisch? Do         21   bit. Why are tactical plans made and utilized?
22   you know who that person is?                             22        A. Tactical plans are devised so that
23         A. I believe he was a neighbor of Mr. Wirth.       23   officers have a clear and concise understanding of
24         Q. Are you aware of any communications from        24   what their specific assignments are going to be, what
25   Mr. Gabrisch to the Park County Sheriff's Department     25   the plan is, and how it's going to be executed. When

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 1   as it concerns Mr. Wirth?                                 1   you have a tactical plan, you don't want there to be
 2         A. I was not aware of any communication when        2   any question whatsoever come up during the plan.
 3   I worked at Park County. I believe I watched Channel      3   That's why we develop plans.
 4   4 News in which this individual had alleged that he       4         Q. Okay. So I think we've talked pretty
 5   had specifically contacted the sheriff and later          5   extensively about the six to eight weeks you thought
 6   another employee of the sheriff's office. But at the      6   about it. We talked quite a bit about your 45-minute
 7   time, I was not made aware or was aware of any of this    7   to an hour long meeting with Captain Hancock on or
 8   communication.                                            8   about February 12 and your specific order to him. I
 9         Q. So if hypothetically Rick Gabrisch               9   want to talk about between February 12 and the date of
10   contacted Park County Sheriff's Department, one to       10   the eviction proceeding on February 24. Okay. So you
11   two -- I'm sorry -- two to three months prior to the     11   communicated the tactical plan, you communicated your
12   Wirth incident and made a statement along the lines of   12   risk assessment, you communicated your direct order to
13   he has reason to believe that Wirth will shoot it out    13   Hancock that under no circumstances should the
14   with the cops and he communicated that to the sheriff,   14   structure be breached?
15   would it be your understanding that the sheriff would    15         A. Yes.
16   communicate that to the department in some form or       16         Q. Okay. Between February 12 and
17   fashion?                                                 17   February 24, what is your understanding of whether
18         A. Yeah.                                           18   that tactical plan was communicated to the team, the
19            MR. SCHIMBERG: Form and foundation.             19   group of people that were going to implement the
20         A. Yes.                                            20   tactical plan?
21         Q. (BY MR. SISSON) If that statement was           21         A. On a tactical plan, one of the important
22   made by a concerned citizen to the sheriff, why do you   22   phases is to have a briefing prior to the execution of
23   think the sheriff would then disseminate that            23   that plan. During the briefing, the officers are
24   information to the department?                           24   advised of what positions they are going to hold, what
25         A. In my opinion, that would be a                  25   their duties and responsibilities as part of that

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1    operation are going to be, assignments are given, and    1          Q. Did you have any role in selecting the
2    the plan is expressed to them, a lot of times even       2    members of the team or was that sort of up to Captain
3    through diagram, of what is going to take place. Once    3    Hancock?
4    again, we want that plan to be very clear and we want    4          A. That was going to be up to Captain
5    everyone associated with that plan to have a clear,      5    Hancock, but because this was a two-phase operation
6    concise understanding so that there are no questions.    6    where we were going to try to contact Mr. Wirth and
7    Officers are also given the opportunity after the plan   7    get him to leave the premises, with the understanding
8    is given to ask questions or express concerns. But       8    that if he didn't, they were supposed to fall back to
9    that plan is made so that, once again, just to           9    perimeter, and then it became a full-fledged SWAT
10   reiterate, everybody has a clear, concise                10   operation. And at that point, tactical officers would
11   understanding of what their role is, what the mission    11   be utilized. And a tactical operational plan would be
12   is, and what they're going to accomplish.                12   executed.
13         Q. Okay. So back to my question, you               13            But I was not convinced that that was the
14   communicated very clearly the tactical plan and the      14   proper course. I wanted to brief with Captain Hancock
15   accompanying order not to breach to Hancock on or        15   and have some time -- we have all of the time in the
16   about February 12?                                       16   world when we're on the perimeter -- to discuss
17         A. Correct.                                        17   options. And some of the options that I had discussed
18         Q. You've answered that multiple times. Are        18   with Captain Hancock were using gas at that time to
19   you aware of any briefing to the members of the          19   have Mr. Wirth leave the premises. I wanted to assess
20   sheriff's department that we're going to implement the   20   what equipment and officers we had to ensure that we
21   tactical plan, carry out the tactical plan, prior to     21   had trained officers if we decided to take a tactical
22   February 24?                                             22   approach. The tactical approach, once again, would
23         A. Standard operating procedure would have         23   have been under no circumstances to use personnel to
24   been to have a briefing prior to the operation being     24   go in. It would have been to use gas to force
25   executed where all team members would have been made     25   Mr. Wirth to come out.

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 1   aware and briefed on the tactical plan, their            1         Q. So have you ever heard the terminology
 2   assignments, and what they were to do.                   2    talk them out, smoke them out?
 3         Q. So are you aware of such a briefing             3         A. Yeah.
 4   occurring prior to the date of the event?                4         Q. So it sounds like -- I'm obviously being
 5         A. I wasn't aware or it wasn't reaffirmed to       5    very simplistic about it -- phase two would have been
 6   me that a tactical briefing had taken place during       6    the traditional approach of setting up a tactical
 7   this time frame. I assumed that standard operating       7    perimeter?
 8   procedure, there would be a briefing prior to the        8         A. Correct.
 9   execution of the operation. In reading material after    9         Q. Establishing communications with
10   the fact, I'm aware that that briefing did take place.   10   Mr. Wirth?
11         Q. Do you know when it took place?                 11        A. Correct.
12         A. It would have taken place, I think, at          12        Q. In an effort to talk him out peacefully?
13   the -- or it would have taken place prior -- early on    13        A. (Deponent nodded head up and down.)
14   the morning of the 24th prior to the execution of the    14        Q. And if there was going to be any tactical
15   operation.                                               15   measures beyond that, your view is it would have been
16         Q. So my understanding in the CBI report is        16   chemical in nature?
17   that it occurred at approximately 8:30 hours. Does       17        A. That's correct.
18   that sound -- is that your understanding as well, or     18        Q. Okay. Was there any consideration to
19   do you have a different understanding?                   19   using a robot?
20         A. That's my understanding.                        20        A. If Mr. Wirth didn't come out, the plan
21         Q. Okay. So let me back up a little bit.           21   called for the officers to fall back to a safe
22   Did you have an expectation -- you said in the very      22   location on perimeter and all of those issues were to
23   beginning of the deposition this was going to be a       23   be discussed with me so that we could evaluate
24   SWAT operation; is that right?                           24   options.
25         A. That is correct.                                25        Q. Okay.

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 1            A. Gas would be one option, a robot, even           1   two-page document.
 2      though it wasn't specifically discussed, from a nearby    2         A. Okay.
 3      jurisdiction would be an option, withdrawing would        3         Q. Okay. Do you have any knowledge of what
 4      have been an option.                                      4   Exhibit 6 is?
 5            Q. Completely vacating the operation                5         A. It looks like the diagram that would have
 6      entirely?                                                 6   been presented as part of the pre-briefing on the
 7            A. Yes.                                             7   morning of February 24.
 8            Q. Okay. So did you attend the 8:30                 8         Q. Okay. Now, am I correct in stating
 9      briefing that your understanding occurred on the date     9   that -- well, let me back up. Have you seen this
10      of the incident?                                         10   document prior to today?
11            A. No.                                             11         A. No.
12            Q. Why not?                                        12         Q. Okay. Looking at the document -- I'm on
13            A. Once again, I was in Fairplay. Most of          13   the first page -- it says, "Hancock, OPPS-5." Do you
14      our folks were in Fairplay. Sergeant Tonjes and I        14   see that?
15      stayed -- excuse me. Most of the folks were in Bailey    15         A. I do.
16      on this operation that we had that day. We needed to     16         Q. Do you know what that means?
17      have a presence on the Fairplay side. The sheriff was    17         A. Yes. When we have a tactical operation,
18      going to be attending a meeting in Denver, so I felt     18   we go to a separate radio channel so that law
19      under the circumstances I needed to stay in Fairplay.    19   enforcement activities are still handled on the
20      And Captain Hancock and I discussed the situation and    20   regular channel, but we don't want any interruptions
21      he assured me he would follow my directive to the        21   or people coming in or talking, so we separate and
22      letter.                                                  22   went to a special ops. It actually stands for
23            Q. Okay.                                           23   Operations 5.
24            A. So I felt comfortable with that.                24         Q. So that's a channel, radio channel?
25            Q. I know he assured you of that. Well, I          25         A. That was our specific channel that was

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 1      think your testimony was on the day that you              1   designated for this specific operation.
 2      communicated your threat assessment and tactical plan     2         Q. Okay. Let me back up a little bit. So
 3      about two weeks prior, that he said he understood the     3   in terms of the tactical planning of this whole event,
 4      plan, he understood your order, and he was going to       4   was it known within the agency on February 24, 2016,
 5      follow it?                                                5   that the sheriff was going to be going out of town to
 6           A. Correct.                                          6   Denver and that you were going to be the acting
 7           Q. Did he reaffirm his commitment and                7   sheriff?
 8      understanding to your plan between February 12 and the    8         A. Yes.
 9      date of the incident?                                     9         Q. How does that work in terms of the acting
10           A. I don't recall if he reaffirmed the plan         10   sheriff? Does the sheriff say -- pull out a magic
11      between those dates or that timeline, but he was very    11   wand and say, You're the acting sheriff today, or is
12      much aware of what the plan was. And if there had        12   there some kind of personnel order, e-mail? How do
13      been any changes to the plan, he would have directed     13   people know that you're the acting sheriff?
14      those to me or should have.                              14            MR. SCHIMBERG: Form. Foundation.
15           Q. To your knowledge, were there any changes        15         A. In the absence of the sheriff, the
16      to your plan, the one you imparted on him on             16   undersheriff assumes that role. And anytime the
17      February 12, to the date of the incident?                17   sheriff would leave the county, I was in that role as
18           A. No.                                              18   the second in command.
19           Q. Did he ever come to you with a request           19         Q. (BY MR. SISSON) Based on your knowledge,
20      for changes?                                             20   do you believe that was understood by Captain Hancock
21           A. No.                                              21   on February 24, 2016?
22           Q. I want you to turn to Exhibit 6 in your          22         A. Yes.
23      binder. Are you there?                                   23         Q. Okay. In terms of incident command, was
24           A. I am.                                            24   it your understanding that had this tactical plan made
25           Q. Okay. So do you have any -- and it's a           25   it to step two, you would be the incident commander?

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 1           Q. You're familiar with written discovery            1        Q. Okay. So based on your tactical plan if
 2      responses?                                                2   Mr. Wirth chose not to come to the door, was it your
 3           A. Yes.                                              3   belief that they should have retreated?
 4           Q. In fact, you've probably worked with              4        A. Yes.
 5      Mr. Schimberg as your attorney on written discovery       5        Q. And that was essentially a direct order
 6      responses; is that right?                                 6   from you to Hancock?
 7           A. Yes.                                              7        A. Yes.
 8           Q. Okay. So looking at this document here,           8        Q. Okay. Let's keep going on this thing.
 9      okay, this is -- and it looks like we don't have the      9   "I became concerned. I was concerned as to where
10      signed verification, but if you go to page 12, you'll    10   Mr. Wirth was, to include the possibility that he was
11      see a verification from Mark Hancock or what should      11   exiting the house to a vacated perimeter spot or
12      have been a signed verification. Page 12.                12   simply hiding in the house." Do you see that?
13           A. I'm getting there.                               13        A. Yes.
14           Q. Okay. Do you see that?                           14        Q. Do you think that is a valid concern
15           A. Yes, I do.                                       15   based on phase one of your tactical plan?
16           Q. But nevertheless you can see that these          16        A. No.
17      are the responses of Mark Hancock and you see the        17        Q. Why not?
18      electronic signature of Timothy P. Schimberg, his        18        A. According to phase one, the officers
19      attorney?                                                19   should have been put in a position in a perimeter
20           A. I do.                                            20   around the house to begin with, so that if Mr. Wirth
21           Q. Okay. Let's go back to page 8, question          21   exited from any side of the house, it could be
22      9.                                                       22   reported to the officers. Additionally, topography
23           A. Okay.                                            23   and trailers or whatever the tactical issues at the
24           Q. The question is: "Please state with              24   residence are, whatever they were at the time, should
25      specificity all facts to support the decision to         25   have already been addressed. And how they were going

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 1      breach the door of the Wirth residence on the date of     1   to withdraw should have already been addressed as
 2      the incident." Then there's an objection and then         2   well.
 3      there is a one-paragraph answer. Do you see that?         3         Q. Okay. And did you believe that was
 4            A. Uh-huh, I do.                                    4   addressed in the form of your tactical plan?
 5            Q. I guess what I'm telling you is this is          5         A. I left those details up to the captain.
 6      the response to that question from Mark Hancock in the    6   In any of our discussions, none of those details were
 7      form of a written discovery response. Okay?               7   broached by the captain that there were issues.
 8            A. Okay.                                            8         Q. Okay. Stopping at that point. And this
 9            Q. I don't know if -- you probably haven't          9   is Hancock's answer, right? Knocking numerous times,
10      seen this before; is that right?                         10   he doesn't come to the door, right?
11            A. I have not.                                     11         A. (Deponent nodded head up and down.)
12            Q. Why don't you read that paragraph to            12         Q. Let's assume he has these concerns he's
13      yourself. I want to ask you some questions about it.     13   articulating here. Was the order from you to him to
14            A. Okay. I read it.                                14   tactically retreat?
15            Q. Okay. So I'm looking -- I'm going to ask        15         A. Tactically withdraw.
16      you questions based on that response. Okay?              16         Q. Tactically withdraw?
17            A. Okay.                                           17         A. Yes.
18            Q. So Hancock says, "At that time, and after       18         Q. And was Hancock insubordinate by not
19      announcing ourselves and knocking on the door numerous   19   following that order?
20      times, it became clear that Mr. Wirth was not coming     20         A. Yes.
21      to the door per our requests." Now let me back up a      21         Q. Okay. Do you believe by not following
22      little bit. Phase one of your tactical plan was if       22   that order, essentially Hancock exposed the members of
23      Mr. Wirth does not come to the door, what was the        23   the team to great danger?
24      plan?                                                    24            MR. SCHIMBERG: Form and foundation.
25            A. They were to withdraw to the perimeter.         25         A. Yes.

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 1            Q. (BY MR. SISSON) And what was that                1   withdrawal of the officers as they get out of the
 2      danger?                                                   2   danger zone.
 3            A. By not withdrawing to a safe location and        3        Q. So essentially there would have been
 4      by breaching the door, you're going into the lion's       4   cover officers during the tactical withdraw?
 5      lair and you exposed everybody to danger.                 5        A. Yes.
 6            Q. Were those dangers known to Hancock and          6        Q. And in terms of the topography and the
 7      articulated to you by Hancock?                            7   downhill tactical withdraw, is it your testimony that
 8               MR. SCHIMBERG: Form and foundation.              8   was well-known to Hancock in advance of this incident
 9            A. Yes.                                             9   on February 24?
10            Q. (BY MR. SISSON) And did you actually            10        A. This is the first that I became aware of
11      articulate that you felt that this could be a            11   any tactical uphill or downhill issues. Part of the
12      situation where he shoots cops and wants to die by       12   responsibility of the SWAT commander would have been
13      suicide by cop?                                          13   to not only do topographical photos of the residence,
14               MR. SCHIMBERG: Form.                            14   do photos around the sides of the residence, and to
15            A. That was my feeling, yes.                       15   identify any of those issues prior to ever deploying
16            Q. (BY MR. SISSON) But did you articulate          16   or prior to ever taking a team up to the residence.
17      that to Hancock?                                         17        Q. So do you believe if Hancock had a
18            A. I did.                                          18   concern, you know, Hey, Undersheriff, you're giving me
19            Q. Okay. Now, I'm going to continue with           19   a tactical plan that this guy doesn't answer the door
20      Hancock's answer here.                                   20   and I have to -- we have to do a tactical withdraw, it
21            A. Okay.                                           21   is downhill to some degree, that may unnecessarily
22            Q. Okay. I'm in the middle of that                 22   expose the officers, would you expect the captain to
23      paragraph. "I believed, based upon my experience,        23   have articulated those concerns to you?
24      that our position near the house was thus compromised.   24        A. Yes.
25      I knew that retreating across open ground, to include    25        Q. At any point did he?

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 1      downhill from the residence, would unnecessarily          1        A. No.
 2      expose all of the officers. Because we were up            2        Q. Do you believe those to be valid
 3      against the house, and unable to safely retreat across    3   concerns?
 4      open ground, I asked permission to make entry which       4            MR. SCHIMBERG: Form.
 5      was granted by the sheriff." Did you read that?           5        A. If they were concerns that the captain
 6           A. I did.                                            6   had, those concerns should have been dealt with prior
 7           Q. Okay. I want to take that in steps. "I            7   to any execution of this operation.
 8      knew that retreating across open ground, to include       8        Q. (BY MR. SISSON) Do you believe these
 9      downhill from the residence, would unnecessarily          9   concerns, whether valid or not, justified a departure
10      expose all of the officers." Do you see that             10   from your tactical plan?
11      sentence?                                                11        A. Absolutely not.
12           A. Yes.                                             12        Q. Hancock says that he did it because had
13           Q. What is your reaction to that sentence or        13   he not, he would have unnecessarily exposed all of the
14      that explanation?                                        14   officers. That was the language he used in this
15           A. I absolutely disagree with that.                 15   discovery response. Do you believe that breaching the
16           Q. Why?                                             16   residence unnecessarily exposed all of the officers?
17           A. As the SWAT commander, all of those              17        A. Breaching the residence, in my opinion,
18      considerations should have been taken into account as    18   was gross negligence on the part of Hancock and the
19      far as and as part of the risk assessment. There         19   sheriff.
20      should have been the correct perimeter set up around     20        Q. You used a term of legal art. I want to
21      the residence. Officers should have been given           21   know -- you're not a lawyer, right?
22      directives on perimeter, that if these officers          22        A. No.
23      contact Wirth and he goes back inside the house or       23        Q. Okay. Do you know what the difference
24      Wirth doesn't come to the door, that they are to take    24   between negligence and gross negligence is?
25      up defensive positions on perimeter and cover the        25            MR. SCHIMBERG: Form.

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1            A. I think gross negligence would be doing           1   with Hancock that would cause you to be in any way
2       something that you absolutely have an understanding       2   seeking revenge against Hancock or do you have an ax
3       and knowledge of and it goes against the conscious of     3   to grind with Hancock or anything of that nature?
4       any reasonable act. It's an extremely high level of       4        A. No.
5       negligence. And it's with knowledge and understanding     5        Q. I mean, let me ask you this, your
6       that what you're doing is unduly putting people at        6   opinions. You've been in law enforcement for a very
7       risk versus making a decision that you can reflect        7   long time, right?
8       back on and go, you know, I could have probably done a    8        A. Yes.
9       better job of managing this situation.                    9        Q. Do you believe your opinions are to a
10           Q. (BY MR. SISSON) Do you believe Hancock           10   reasonable degree of certainty in the area of law
11      was aware of the risks of breaching that structure?      11   enforcement?
12           A. Yes.                                             12           MR. SCHIMBERG: Form. Foundation.
13               MR. SCHIMBERG: Form and foundation.             13        A. Restate your question.
14      Legal conclusion.                                        14        Q. (BY MR. SISSON) I mean, you were the
15           Q. (BY MR. SISSON) Do you believe he                15   undersheriff. You devised the tactical plan. You've
16      recklessly disregarded those risks?                      16   articulated great knowledge of law enforcement,
17           A. Yeah.                                            17   thousands of hours of training, FBI Academy, so on and
18               MR. SCHIMBERG: Form. Foundation. Legal          18   so forth. Do you believe that to some degree you have
19      conclusion.                                              19   a certain expertise in law enforcement and tactics?
20           Q. (BY MR. SISSON) Do you believe by him            20        A. Yes.
21      recklessly disregarding those risks and ignoring those   21        Q. So do you believe that in that regard
22      risks, that that led to Nathan Carrigan being shot and   22   that you have the necessary background to give an
23      killed by Mr. Wirth?                                     23   opinion on the merits of a law enforcement officer's
24               MR. SCHIMBERG: Form and foundation.             24   actions in a law enforcement action such as this?
25           A. Yes.                                             25        A. Yes.

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1            Q. (BY MR. SISSON) Do you believe that               1            MR. SCHIMBERG: Object to form and
2       Hancock recklessly disregarding those risks led to        2   foundation.
3       Kolby Martin being shot seven times by Mr. Wirth?         3        Q. (BY MR. SISSON) So when you say that you
4                MR. SCHIMBERG: Form and foundation.              4   believe Hancock recklessly disregarded these
5            A. Yes.                                              5   policies -- and let me ask you this -- was it not just
6            Q. (BY MR. SISSON) And same question: Do             6   policies but also your order?
7       you believe that by Captain Hancock recklessly            7        A. It was my order that this not occur, that
8       disregarding those risks, that led to Travis Threlkel     8   no breach or entry be attempted. Our policy as far as
9       being shot in the chest one time?                         9   barricaded suspect and how to handle those kinds of
10           A. Yes.                                             10   situations, although I haven't referred to that policy
11               MR. SCHIMBERG: Same objection.                  11   in some time, but I'm confident that the sheriff and
12           Q. (BY MR. SISSON) Do you believe that had          12   Hancock violated their own policy.
13      Captain Hancock not willfully and recklessly             13        Q. Is your opinion in that regard to a
14      disregarded those risks, that none of this would have    14   reasonable degree of certainty as sort of an expert in
15      happened?                                                15   the field of law enforcement?
16               MR. SCHIMBERG: Form. Foundation.                16            MR. SCHIMBERG: Form and foundation.
17           A. Yes.                                             17   Thank you.
18           Q. (BY MR. SISSON) Now, do you say that             18        A. Yes.
19      lightly?                                                 19        Q. (BY MR. SISSON) And is it to a
20           A. No, sir.                                         20   reasonable degree of certainty as a sort of subject
21           Q. I mean, you told me earlier today that           21   matter expert on your own policies and procedures in
22      you considered Hancock a work friend; is that right?     22   Park County?
23           A. That is correct.                                 23            MR. SCHIMBERG: Same objections.
24           Q. Okay. Other than this incident, is there         24        A. Yes.
25      something -- did you have some kind of falling out       25        Q. (BY MR. SISSON) Are you in any way

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 1      5?                                                       1    to follow?
 2           A. I do.                                            2          A. Yes.
 3           Q. Did you voice a concern? So you hear --          3          Q. Is it something that members of the
 4      however you hear it, whether you heard the captain ask   4    sheriff's department train on?
 5      permission, the sheriff say yes, or I think the way      5          A. Yes.
 6      you recollect is Hancock saying if we're going to do     6          Q. Okay. I just want to go through a few
 7      something, we need to do it now, and the next thing      7    things on this. "Definitions: Barricaded Subject,"
 8      you hear is the sheriff saying breach, breach, breach?   8    do you see that, subsection II?
 9           A. Just twice, breach, breach.                      9          A. Yes, I do.
10           Q. I'm sorry, just twice. If you heard that         10         Q. Did you believe that Martin Wirth when
11      communication on Ops 5, did you voice concern at that    11   they're knocking on the door and he's not coming to
12      moment?                                                  12   the door, at that point is he a barricaded subject?
13           A. I was absolutely taken aback by the              13         A. The fact that he came out, looked around
14      order, and there wasn't enough time to stop it at that   14   and went back in the house, did not respond to knocks
15      point. The next instant the door was breached, shots     15   on the door, I would have considered this and it
16      were fired, and it was a very chaotic scene.             16   should have been treated as a barricaded suspect
17           Q. So you didn't voice any concern on Ops 5         17   situation.
18      at that moment?                                          18         Q. He became barricaded when he came out and
19           A. Excuse me?                                       19   then went back in, or was he barricaded the second he
20           Q. You didn't say anything on the radio at          20   didn't respond to knocking on the door?
21      that time?                                               21         A. Even if he did not respond, I mean, you
22           A. I did not.                                       22   couldn't be sure that he was in there and barricaded.
23           Q. And it unfolded so quickly, you didn't           23   The house may be vacant, but I would have -- based on
24      have the time to do that?                                24   the information we had, I would have made the
25           A. I did not. And also, typically the               25   assumption that he was -- that this was a barricaded

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 1      commander on scene has the authority. And the reason     1    situation.
 2      to do that is there may be something that changes that   2          Q. Okay. Go ahead.
 3      they may need to readjust, but this happened in an       3          A. And that's why the instruction was to
 4      instant, this situation.                                 4    withdraw, whether he -- if he didn't answer the door
 5            Q. Okay. I want to look at Exhibit 9 in the        5    or if he came out and looked around, withdraw.
 6      binder in front of you.                                  6          Q. If he comes out, looks around and then
 7            A. Okay.                                           7    goes back in, you don't have to make any assumptions,
 8            Q. Do you got it?                                  8    you know he's barricaded; is that true?
 9            A. I do.                                           9          A. I think you would reasonably assume that
10            Q. You've made reference to this policy a          10   and especially based on the information and knowledge
11      few times today; is that fair?                           11   we had about Mr. Wirth, that this was now a barricaded
12            A. Yes.                                            12   situation.
13            Q. This is what you're talking about with          13         Q. Okay. Let's just look at the definition.
14      the hostage/barricaded subject incidents policy?         14   "Any individual who's reasonably believed to be a
15            A. Correct.                                        15   threat to commit serious bodily injury or death." Do
16            Q. Is that correct?                                16   you think that was a reasonable belief, that he was a
17            A. Yes, it is.                                     17   threat?
18            Q. Is it your understanding that this policy       18         A. I do.
19      was effective and in force on the date of the Wirth      19         Q. To officers in the community?
20      incident?                                                20         A. Yes.
21            A. Yes.                                            21         Q. "and who is in a stronghold position," do
22            Q. I want to go through this policy. Now           22   you see that?
23      this policy -- is this a policy that it's your           23         A. Yes.
24      understanding that the members of the Park County        24         Q. What does that term, stronghold position,
25      Sheriff's Office, including the sheriff, are obligated   25   mean? Does that mean it has to be a fox hole or a

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 1                                                                1   to communicate with Wirth at that point?
        bunker or some kind of a fortified position, or could
 2                                                                2            MR. SCHIMBERG: Form.
        it be a mere house?
 3               MR. SCHIMBERG: Form.                             3         A. I think to prioritize the situation, they
 4            A. It could be any of those.                        4   should have withdrew and got those officers out of
 5                                                                5   that danger zone. At that time we could have
              Q. (BY MR. SISSON) Okay.
 6            A. Realistically it's going to be your              6   discussed -- and had all of the time in the world to
 7      house.                                                    7   do so to discuss whether there was a mechanism to
 8                                                                8   communicate with him or what our options were and how
              Q. Okay. The hostage, that wouldn't have
 9                                                                9   we were going to resolve the situation, including a
        applied to this particular event; is that fair?
10            A. That is fair.                                   10   withdrawal.
11                                                               11         Q. (BY MR. SISSON) In terms of priority,
              Q. Okay. Now, look at the Policy, No. III.
12            A. Okay.                                           12   withdraw and then attempt to communicate?
13                                                               13         A. Yes.
              Q. Subsection III, "In hostage/barricaded
14                                                               14         Q. "whenever possible, to develop and
        subject situations, it shall be the policy." Do you
15                                                               15   maintain the ability to use alternative approaches to
        see that?
16            A. I do.                                           16   resolve the incident should communications fail." So
17                                                               17   that would have been a consideration once there was a
              Q. Does that mean it's optional?
18            A. No.                                             18   tactical withdraw, once there was an attempt to
19                                                               19   communicate with Wirth, then that step would have been
              Q. Okay. "of the Park County Sheriff's
20                                                               20   taken?
        Office to consider the lives of the hostages,
21                                                               21         A. Yes.
        civilians and officers involved to be of the utmost
22                                                               22         Q. Now, looking at Procedures, subsection
        importance." Do you see that?
23            A. I do.                                           23   IV, paragraph A, "Patrol deputies confronting hostage/
24                                                               24   barricaded subject incidents shall not initiate
              Q. Is it your understanding that this policy
25                                                               25   tactical actions other than those necessary to protect
        exists for the very purpose of putting lives first and

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 1      foremost?                                                 1   the lives and safety of themselves or others
 2           A. Yes.                                              2   consistent with the Park County Sheriff's Office's use
 3           Q. And then "whenever possible, to enhance           3   of force policy." Do you see that?
 4      the prospects of peacefully resolving the incident        4         A. I do.
 5      through communication with the suspect." Do you see       5         Q. So backing up -- and you saw Hancock's
 6      that?                                                     6   response -- they knock on the door, Wirth retreats,
 7           A. I do.                                             7   he's then feeling like their position is compromised
 8           Q. Let's back up a little bit. You're                8   and they can't withdraw down the hill, if you will, or
 9      monitoring this thing on the radio?                       9   he may unnecessarily expose their lives or whatever
10           A. Correct.                                         10   his language was. Does this policy actually indicate
11           Q. And you hear somebody call out that Wirth        11   that they can't breach at that point unless it's
12      goes back into the structure, right?                     12   necessary to protect their lives and the safety of
13           A. Correct.                                         13   others?
14           Q. At that moment in time you consider him          14         A. Yes.
15      to be barricaded?                                        15         Q. And do you believe that those
16           A. Yes.                                             16   justifications were present in this case?
17           Q. And this policy applies?                         17         A. No.
18           A. Yes.                                             18         Q. Now, looking at the Procedures IV A and
19           Q. And I know you heard some communication          19   then we have 1, 2, 3, do you see that?
20      on the radio with Hancock and ultimately the sheriff,    20         A. I do.
21      but do you know if there was any attempts to             21         Q. "Notify a supervisory officer of the
22      communicate with Wirth by Hancock or anybody else on     22   incident and circumstances. 2. Contain and isolate
23      scene?                                                   23   the incident scene, establishing an inner containment
24           A. No.                                              24   perimeter to provide a reasonable degree of safety."
25           Q. Okay. Should there have been an attempt          25   Do you see that?

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                  REPORTER'S CERTIFICATE
 STATE OF COLORADO           )
                             ) ss.
 CITY AND COUNTY OF DENVER )
              I, Darcy Curtis, Registered Professional
 Reporter and Notary Public ID 20064016972, State of
 Colorado, do hereby certify that previous to the
 commencement of the examination, the said MONTE GORE
 was duly sworn by me to testify to the truth in
 relation to the matters in controversy between the
 parties hereto; that the said deposition was taken in
 machine shorthand by me at the time and place
 aforesaid and was thereafter reduced to typewritten
 form; that the foregoing is a true transcript of the
 questions asked, testimony given, and proceedings had.
              I further certify that I am not employed
 by, related to, nor of counsel for any of the parties
 herein, nor otherwise interested in the outcome of
 this litigation.

              IN WITNESS WHEREOF, I have affixed my
 signature this 30th day of June,
 2017.

            My commission expires May 2, 2018.

 __X__ Reading and Signing was requested.
 _____ Reading and Signing was waived.
 _____ Reading and Signing is not required.




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